                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________
No. 25-5091                                                 September Term, 2024
                                                                          1:25-cv-00381-ABJ
                                                       Filed On: April 2, 2025
National Treasury Employees Union, et al.,

              Appellees

       v.

Russell T. Vought, in his official capacity as
Acting Director of the Consumer Financial
Protection Bureau and Consumer Financial
Protection Bureau,

              Appellants


       BEFORE:       Pillard, Katsas, and Rao, Circuit Judges

                                         ORDER

      Upon consideration of the emergency motion for administrative stay and stay
pending appeal, the emergency motion to strike, the opposition thereto, and the reply, it
is

        ORDERED that appellees file a response to the emergency motion for stay
pending appeal by 12:00 noon on April 3, 2025. Any reply is due by 12:00 noon on
April 4, 2025. It is

        FURTHER ORDERED, on the court’s own motion, that this case be scheduled
for oral argument on Wednesday, April 9, 2025, at 9:30 a.m. before Circuit Judges
Pillard, Katsas, and Rao. It is

       FURTHER ORDERED that the following times be allotted for oral argument:

              Appellants                   -                        30 Minutes

              Appellees                    -                        30 Minutes
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                                     ____________
No. 25-5091                                                September Term, 2024

       One counsel per side to argue. Form 72, which may be accessed through the
link on this order, must be completed and returned to the Clerk’s Office by April 3, 2025.

                                       Per Curiam


                                                         FOR THE COURT:
                                                         Clifton B. Cislak, Clerk

                                                 BY:     /s/
                                                         Michael C. McGrail
                                                         Deputy Clerk

The following forms and notices are available on the Court’s website:

      Memorandum to Counsel Concerning Cases Set for Oral Argument (From 71)




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